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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re:                                          §
                                                 §           Case No. 22--60043
 FREE SPEECH SYSTEMS, LLC,                       §
                                                 §
                                DEBTOR.          §           Chapter 11 (Subchapter V)
                                                 §

                                WITNESS AND EXHIBIT LIST

 Judge:                      Hon. Christopher M. Lopez
 Hearing Date:               Tuesday, September 20, 2022
 Hearing Time:               1:00 p.m. (Central Standard Time)
 Party’s Name:               Free Speech Systems, LLC
 Attorney’s Name:            Ray Battaglia; Kyung S. Lee; RJ Shannon
 Attorney’s Phone:           (713) 714-5770
 Nature of Proceeding:       Hearing on:
                                 Application of Debtor for an Order (A) Authorizing
                                    Employment of Shannon & Lee LLP as Bankruptcy Co-
                                    Counsel for the Debtor, and (B) Granting Related [ECF No.
                                    85] (the “S&L Application”)
                                   Application of Debtor for an Order (A) Authorizing
                                    Employment of W. Marc Schwartz as Chief Restructuring
                                    Officer, (B) Authorizing Employment of Staff of Schwartz
                                    Associates, LLC In Discharge of Duties as Chief Restructuring
                                    Officer, and (C) Granting Related [ECF No. 83] (the “CRO
                                    Application”)


          Free Speech Systems, LLC, the debtor and debtor in possession in the above captioned

chapter 11 case (the “Debtor”), hereby submits this witness and exhibit list in connection with the

hearing to be held on Tuesday, September 20, 2022, at 1:00 p.m. (Central Standard Time) (the

“Hearing”) on the S&L Application and the CRO Application.
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                                              WITNESSES

           The Debtor may call any of the following witnesses at the Hearing, whether in person or

    by proffer:

           1. W. Marc Schwartz, Chief Restructuring Officer of Free Speech Systems, LLC;

           2. Kyung S. Lee, Partner, Shannon & Lee LLP;

           3. Jayson B. Ruff, Attorney, Office of the U.S. Trustee;

           4. Any witness called or designated by any other parties;

           5. Any witnesses necessary to rebut the testimony of any witnesses called or designated
              by any other parties.

                                               EXHIBITS

           The Debtor may offer for admission into evidence any of the following exhibits, and any

    exhibit designated by any other party, at the Hearing:


                                                                              Admitted
Ex.                     Description                     Offered   Objection     /Not     Disposition
                                                                              Admitted

1      Application of Debtor for an Order (A)
       Authorizing Employment of Shannon &
       Lee LLP as Bankruptcy Co-Counsel for the
       Debtor, and (B) Granting Related Relief
       [ECF No. 85]

2      Proposed Order Approving Debtor’s
       Application to Employ Shannon & Lee LLP
       as Bankruptcy Co-Counsel [ECF No. 85-1]

3      Engagement Agreement Executed June 6,
       2022, between Shannon & Lee LLP and
       Free Speech Systems, LLC [ECF No. 85-2]

4      Declaration of Kyung S. Lee in Support of
       the Debtor’s Application to Employ
       Shannon & Lee LLP as Bankruptcy Co-
       Counsel [ECF No. 85-3]



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                                                                              Admitted
Ex.                   Description                       Offered   Objection     /Not     Disposition
                                                                              Admitted

5     Shannon & Lee LLP Connections Search
      Results dated August 16, 2022

6     Shannon & Lee Supplemental Connections
      Search Results dated September 16, 2022

7     Shannon & Lee LLP Invoice and Time
      Records re Representation of Free Speech
      Systems, LLC from June 1, 2022.

8     Shannon & Lee LLP Invoice and Time
      Records re Representation of Free Speech
      Systems, LLC from July 1, 2022, to July 29,
      2022

9     Kyung S. Lee PLLC Invoice and Time
      Records re

10    Voluntary Petition [Dkt. No. 1; Case No.
      22-60020]

11    Order for Joint Administration [Dkt. No. 8;
      Case No. 22-60020]

12    Debtors’ Emergency Motion for Order
      Authorizing Appointment of Russel F.
      Nelms and Richard S. Schmidt as Trustees
      of the 2022 Litigation Settlement Trust and
      Granting Related Relief [Dkt No. 6; Case
      No. 22-60020]

13    Debtors’ Emergency Application for
      Interim and Final Orders (A) Authorizing
      Employment of W. Marc Schwartz as Chief
      Restructuring Officer, (B) Authorizing
      Employment of Staff of Schwartz
      Associates, LLC in Discharge of Duties and
      Chief Restructuring Officer, and (C)
      Granting Related Relief [Dkt. No. 7; Case
      No. 22-60020]



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                                                                              Admitted
Ex.                  Description                        Offered   Objection     /Not     Disposition
                                                                              Admitted

14    Notice of Amended and Restated
      Declaration of Trust and Plan Support
      Agreement [Dkt. No. 48; Case No. 22-
      60020]

15    Agenda of Matters that May Be Discussed
      at the April 29, 2022 Status Conference
      [Dkt No. 49; Case No. 22-60020]

16    Expedited Request for Status Conference
      [Dkt. No. 85; Case No. 22-60020]

17    The Texas Plaintiffs’ Joinder in the
      Expedited Request for Status Conference
      [Dkt. No. 86; Case No. 22-60020]

18    May 17, 2022, Email from Jayson Ruff to
      Kyung Lee

19    Debtors’ Application to Employ Kyung S.
      Lee PLLC as Bankruptcy Counsel Effective
      as of May 16, 2022 [Dkt No. 97; Case No.
      22-60020]

20    Notice of Filing of Unopposed Motion to
      Dismiss Plaintiffs’ Claims against
      Removing Defendants Infowars LLC (aka
      InfoW, LLC), Infowars Health, LLC (aka
      IWHealth, LLC), and Prison Planet TV,
      LLC with Prejudice and June 24, 2022
      [SIC] Status Conference in the United
      States Bankruptcy Court for the District of
      Connecticut, Bridgeport Division [Dkt. No.
      98; Case No. 22-60020]

21    Signed Stipulation and Order [Dkt. No. 99;
      Case No. 22-60020]

22    Transcript of May 19, 2022, Hearing in
      Case No. 22-60020



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                                                                             Admitted
Ex.                  Description                       Offered   Objection     /Not     Disposition
                                                                             Admitted

23    May 19, 2022, Email from Kyung Lee to
      Marc Schwartz re Meeting re FSS on May
      24, 2022

24    May 21, 2022, Email from Kyung Lee to
      Marc Schwartz, Harold Lee, and Christian
      Schwartz re Dismissal of Case No. 22-
      60020

25    May 23, 2022, Email from Kyung Lee to
      Marc Schwartz, Christian Schwarz, and
      Harold Lee re Draft Motion to Dismiss Case
      No. 22-60020

26    May 25 to June 1, 2022, Emails among
      Kyung Lee and Jayson Ruff re Stipulation
      Dismissing Case No. 22-60020

27    Stipulation and Agreed Order Dismissing
      Debtors’ Chapter 11 Cases [Dkt. No. 10;
      Case No. 22-60020]

28    Application of Debtor for an Order (A)
      Authorizing Employment of W. Marc
      Schwartz as Chief Restructuring Officer,
      (B) Authorizing Employment of Staff of
      Schwartz Associates, LLC in Discharge of
      Duties as Chief Restructuring Officer, and
      (C) Granting Related Relief [ECF No. 83]

29    Proposed Order (A) Authorizing
      Employment of W. Marc Schwartz as Chief
      Restructuring Officer, (B) Authorizing
      Employment of Staff of Schwartz
      Associates, LLC in Discharge of Duties and
      Chief Restructuring Officer, and (C)
      Granting Related Relief [ECF No. 83-1]

30    Engagement Agreement Executed June 6,
      2022, between Schwartz Associates LLC
      and Marc Schwartz and Free Speech
      Systems, LLC [ECF No. 83-2]

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                                                                              Admitted
Ex.                   Description                     Offered    Objection      /Not       Disposition
                                                                              Admitted

31    Declaration of W. Marc Schwartz [ECF No.
      83-3]

32    Company Agreement of Free Speech
      Systems, LLC [ECF No. 83-4]

33    Marc Schwarz Time Records for Free
      Speech Systems, LLC from May 1, 2022, to
      May 31, 2022

34    Marc Schwarz Time Records for INfoW,
      LLC from May 1, 2022, to May 31, 2022

         The Debtor reserves the right to supplement, amend or delete any witness and exhibits prior

  to the hearing. The Debtor also reserves the right to use any exhibits presented by any other party

  and to ask the Court to take judicial notice of any document. The Debtor finally reserves the right

  to introduce exhibits previously admitted.

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Dated: September 16, 2022

                                    LAW OFFICES OF RAY BATTAGLIA, PLLC

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                                    Tel. (210) 601-9405

                                    Proposed Co-Counsel to the Debtor and Debtor-In-
                                    Possession

                                    -and-

                                    SHANNON & LEE LLP

                                    /s/ R. J. Shannon
                                    Kyung S. Lee
                                    State Bar No. 12128400
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                                    R. J. Shannon
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